Filed 12/29/23                                        Case 23-01024                          Doc 51


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        9                                  UNITED STATES BANKRUPTCY COURT
       10                                    EASTERN DISTRICT OF CALIFORNIA
       11                                             FRESNO DIVISION
       12
              In re:                                         Case No. 23-10457-B-11
       13
              MADERA COMMUNITY HOSPITAL,
                                                             Adv. Proc. No. 23-01024-B
       14               Debtor in Possession.
                                                             Chapter 11
       15

       16

       17     ANTONIO RUBIO, on behalf of himself and        JOINT STIPULATION TO STAY
              those similarly situated,                      PROCEEDINGS PENDING
       18                                                    MEDIATION
                                         Plaintiff,
       19              v.
       20     MADERA COMMUNITY HOSPITAL,
       21                                Defendant.
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            {10538/011/GAS1986.DOCX}
                                   JOINT STIPULATION TO STAY PROCEEDINGS PENDING MEDIATION
            4895-9984-7065, v. 1
Filed 12/29/23                                        Case 23-01024                                                  Doc 51


        1                     IT IS HEREBY STIPULATED by and between Plaintiff Antonio Rubio (“Plaintiff”)

        2 and Defendant Madera Community Hospital (“Defendant,” and with Plaintiff collectively referred to as

        3 the “Parties”), through their respective attorneys, as follows:

        4                     WHEREAS, on May 11, 2023, Plaintiff filed the above-entitled matter;

        5                     WHEREAS, on November 6, 2023, the above-entitled Court issued a Scheduling Order

        6 pursuant to Federal Rule of Civil Procedure 16 and Federal Rule of Bankruptcy Procedure 7016;

        7                     WHEREAS, the Parties met and conferred on, and agreed to, mediation with a neutral

        8 to be selected by the Parties;

        9                     WHEREAS, mediation allows the Parties to resolve this matter without exhausting

       10 limited resources in litigation while also preserving the Court’s time and resources;

       11                     WHEREAS, the Parties met and conferred on Wednesday, December 13, 2023, where

       12 Defendant identified for the first time as being at issue an alleged Mutual Arbitration Disputes

       13 Agreement allegedly executed by Plaintiff;

       14                     WHEREAS, the Parties agree that this stipulation is entered into without prejudice or

       15 waiver to Defendant’s right to amend its Answer, move to compel arbitration or otherwise take action

       16 with respect to the Plaintiff’s class action claims, and without prejudice or waiver to Plaintiff’s right to

       17 oppose any such motion that may be filed by Defendant;

       18                     WHEREAS, the Parties have also agreed to proceed with informal exchanges of

       19 information that facilitate mediation rather than formal discovery in light of the disputes concerning the

       20 Mutual Arbitration Disputes Agreement;

       21                     WHEREAS, the Parties expect mediation to take place as soon as practicable;

       22                     WHEREAS, the Court’s Schedule Order sets the deadline to designate experts at April

       23 26, 2024, the deadline to designate rebuttal experts at May 10, 2024, the deadline for all discovery at

       24 June 1, 2024, the deadline to hear the class certification motion at August 21, 2024, the deadline to hear

       25 dispositive motions at October 9, 2024, and the Pre-Trial Conference at November 20, 2024;

       26                     WHEREAS, should mediation prove unsuccessful, the Parties will need time to engage

       27 in formal discovery, prepare experts, and prepare for trial.

       28                     THE PARTIES HEREBY STIPULATE AND AGREE AS FOLLOWS:

            {10538/011/GAS1986.DOCX}                           1
                                   JOINT STIPULATION TO STAY PROCEEDINGS PENDING MEDIATION
            4895-9984-7065, v. 1
Filed 12/29/23                                          Case 23-01024                                                Doc 51


        1                     1.       The above-entitled matter shall be stayed for all purposes, including discovery

        2 purposes, pending completion of mediation by the Parties and a further order of the Court pursuant to

        3 this Stipulation;

        4                     2.       Plaintiff or Defendant, following a good faith meet and confer, may submit a

        5 request to lift this stay;

        6                     3.       Any and all arguments and defenses related to the alleged Mutual Arbitration

        7 Disputes Agreement, including any right to compel arbitration or amend Defendant’s Answer to include

        8 a defense pursuant to the Mutual Arbitration Disputes Agreement, are preserved as of the date of this

        9 Stipulation, such that neither Party may rely on time elapsed between the date of this Stipulation and the

       10 lifting of the stay, or the act of entering into this Stipulation, in support or against any such arguments

       11 or defenses; and

       12                     4.       The Court shall issue a new Scheduling Order following the lifting of the stay

       13 pursuant to this Stipulation.

       14 IT IS SO STIPULATED.

       15

       16 Dated: December 29, 2023                                  WANGER JONES HELSLEY PC
       17

       18                                                           By: s/Giulio A. Sanchez___________
                                                                         Michael S. Helsley
       19                                                                Giulio A. Sanchez
                                                                         Attorneys for Defendant
       20                                                                Madera Community Hospital
       21 Dated: December 29, 2023

       22                                                           By: s/Michael C. Iadevaia_________
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Filed 12/29/23                                       Case 23-01024                                            Doc 51


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